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              IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF ARKANSAS
                       FAYETTEVILLE DIVISION

In Re:

LaDONNA HUMPHREY                                   Case No. 5:19-bk-72555
Debtor                                             Ch. 7

    MOTION FOR APPROVAL OF SALE PURSUANT TO 11 U.S.C. § 363
     AND NOTICE OF OPPORTUNITY TO OBJECT AND OVERBID

      Bianca Rucker, the duly-appointed and acting Trustee for the above-
captioned estate (“Trustee”), by and through her attorney, for her Motion for
Approval of Sale Pursuant to 11 U.S.C. § 363, and Notice of Opportunity to Object
and Overbid (“Motion”), respectfully states:

     1.     On September 19, 2019, the Debtors filed a voluntary, Chapter 7
bankruptcy proceeding, and Bianca Rucker was appointed Trustee.

        2.   The Debtors’ 341(a) meeting was held and concluded on October 21,
2019.

       3.     The Trustee has received an offer to buy certain claims and causes of
action that are property of the bankruptcy estate in this case: Absolute Pediatric
Services, Inc. d/b/a Absolute Pediatric Services (“Absolute”) has offered to pay to
Bianca Rucker, Bankruptcy Trustee for the LaDonna Humphrey for the benefit of
the bankruptcy estate, a total of twelve thousand five hundred dollars ($12,500.00)
(“Purchase Price”), to be paid within fourteen (14) days of an entry of an order
approving this Motion, for the purchase and assignment to them of all claims and
potential claims that LaDonna Humphrey may have that are part of the estate,
except as stated herein. Such claims include but are not limited to:

   1. Any and all claims including appeals, and specifically Ms. Humphrey’s
      counterclaim of fraud, whistleblower, and violations of the False Claims Act
      of 31 USC 3730, arising out of or related to the facts and claims in the state
      court lawsuit, Absolute Pediatric Services, Inc. d/b/a Absolute Pediatric
      Therapy and Anthony Christopher v. LaDonna Humphrey, Individually, in
      the Circuit Court of Benton County, Arkansas, Case No: 04CV-18-2961; and
   2. Any and all claims including claims asserted or unasserted for slander, false
      light, defamation, tortious interference with business expectancies, and/or
      any other intentional tort or related claims against Kenneth Medlin, Anthony
      Christopher, Absolute, Joe Rocko, Wanda Easch, Felicia Ramos, Linnea
      Heintz, Heather Johnson, and others as the situation evolves.

(“Proposed Offer”). The Proposed Offer does not include the sale of any avoidance,
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transfer, or preference actions and such causes of action are not a part of this
proposed sale. The Proposed Offer does not include the alleged malpractice action
listed on the Amended Schedules at Dkt. No. 30, Question No. 34.

        4.      The Proposed Offer is the highest and otherwise best offer received to
date.

      5.     Subject to a higher overbid made according to the procedures set out
below, the Trustee believes such sale and assignment for the Purchase Price is in
the best interests of the bankruptcy estate including for the following reasons:

             a) A $0.00 exemption has been claimed in these assets and none shall be
                paid;
             b) A sale and assignment avoids the actual costs and risks of litigation for
                the estate; and,
             c) it is anticipated such Purchase Price will enable the Trustee to make a
                distribution to unsecured creditors.

       6.     Further, 11 U.S.C. § 363 allows a bankruptcy trustee to sell such
assets for the benefit of the bankruptcy estate.

       7.     For these reasons, the Trustee requests that the Court approve this
Proposed Offer, or that the Court approve the sale to the highest or otherwise best
overbidder if submitted in a subsequent proposed order, and that she be authorized
to execute any documents reasonably necessary to transfer or assign such causes of
action after Court approval.

                      NOTICE OF OPPORTUNITY TO OBJECT

       NOTICE is hereby given to all creditors and parties in interest of the terms
and provisions of the above-stated Motion; any creditor or party who desires to
object to said Motion should file a written objection with the Court (United States
Bankruptcy Court Clerk, 35 E. Mountain, Room 316, Fayetteville, Arkansas 72701)
and serve a copy upon the Trustee within 21 days from the Date of this Notice
stated below.

       Objections and other responses, if any, will be set for hearing by subsequent
notice by the Court, at the U.S. Bankruptcy Courtroom, 35 E. Mountain Street,
Fayetteville, Arkansas. If no objections or responses are filed, all creditors and
parties-in-interest will be deemed to have consented to the Motion, and the Trustee
will submit a proposed order to the Court granting the Motion, which the Court may
enter without further Notice.

        DATE OF THIS NOTICE: December 4, 2019



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                  NOTICE OF OPPORTUNITY TO OVERBID

       Any party wishing to submit a QUALIFIED overbid, a party must, on or
before December 23, 2019:

      1.     Transmit a written offer on the same or better terms in the Trustee’s
      sole opinion for the minimum overbid price of $13,500.00 to Bianca Rucker,
      Trustee, at ruckerlaw@outlook.com.

      2.     Deposit “earnest money” in the amount of $2,000.00 made payable to
      Bianca Rucker, Bankruptcy Trustee for LaDonna Humphrey, which amount
      shall be forfeitable to the estate if the overbidder is the successful buyer at
      auction and fails to close for any reason (other than the Trustee cannot obtain
      Court approval based on other parties’ objections).

      3.    Prior to the auction, provide proof sufficient to the Trustee in her sole
      opinion of the overbidder’s ability to close.

       If the Trustee, in her sole opinion, determines an overbid received during this
time is Qualified, the Trustee, or her authorized agent, will conduct an auction by
telephone on Monday, December 30, 2019, at 1:00 pm, central time, in
minimum bidding increments of $1000.00, between the Proposed Buyer and any
Qualified Overbidders.

       At the conclusion of the auction, the Trustee will name the successful bidder,
who shall within fourteen (14) days tender to the Trustee the overbid amount, to be
placed in the Trustee’s estate account and held pending Court approval of the sale
and closing. Also at the conclusion of the auction, the Trustee will submit a
proposed order to the Court approving the sale to the offeror herein if there are no
qualified overbids, or to the successful bidder at auction.

       WHEREFORE, the Trustee respectfully requests that the Court grant the
Motion pursuant to 11 U.S.C. § 363, approve the sale and assignment of the subject
assets referenced herein to the proposed buyer, or to the successful overbidder at
auction, and for all other relief to which she is entitled.

                                              Respectfully submitted,

                                              /s/ Bianca Rucker_____________
                                              Bianca Rucker (2006310)
                                              RUCKER LAW PLLC
                                              One East Center St., Ste. 215
                                              Fayetteville, Arkansas 72701
                                              (479) 445-6340
                                              (479) 689-7335 (fax)
                                              ruckerlaw@outlook.com
                                              Counsel for Trustee
                                          3
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                          CERTIFICATE OF SERVICE

       I certify that on December 4, 2019, the foregoing Motion was filed with the
Clerk of the Court via the CM/ECF filing system which will generate a Notice of
Electronic Filing of the above pleading to all registered CM/ECF Filing Users in the
above-captioned case, including the debtor’s counsel and the U.S. Trustee, and that
also on August 29, 2019, a copy was sent by regular, first-class, U.S. Mail to the
parties on the debtor’s creditor matrix filed with the original of this Motion.

                                             __/s/ Bianca Rucker_______
                                                   Bianca Rucker




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0861-5                                    Legal Counsel Room 2380                      Wright Lindsey & Jennings
Case 5:19-bk-72555                        PO Box 3493                                  3333 Pinnacle Hills Pkwy
Western District of Arkansas              Little Rock, AR 72203-3493                   Ste 510
Fayetteville                                                                           Rogers, AR 72758-8498
Tue Dec 3 09:07:23 CST 2019
Anthony Christopher                       Bank of America                              Stanley V Bond
c/o Wright Lindsey Jennings               4909 Savarese Circle                         Bond Law Office
3333 Pinnacle Hills Pkwy                  Fl1-908-01-50                                P.O. Box 1893
Ste 510                                   Tampa, FL 33634-2413                         Fayetteville, AR 72702-1893
Rogers, AR 72758-8498

Capital One                                  Capital One Bank (USA), N.A.                 Charles T. Coleman
Attn: Bankruptcy                             4515 N Santa Fe Ave                          WRIGHT, LINDSEY & JENNINGS LLP
Po Box 30285                                 Oklahoma City, OK 73118-7901                 200 W. Capitol Ave., Ste. 2200
Salt Lake City, UT 84130-0285                                                             Little Rock, AR 72201-3627


Collection Service, Inc.                     Denny Humphrey                               Employment Security Division
Attn: Bankruptcy                             11580 Farrar Rd                              Legal Division
Po Box 7545                                  Bentonville, AR 72713-4842                   PO Box 2981
Little Rock, AR 72217-7545                                                                Little Rock, AR 72203-2981


LaDonna Humphrey                             IRS                                          Ken Bertley DDS
11580 Farrar Rd                              PO Box 7346                                  5417 W Pinnacle Point, Ste 200
Bentonville, AR 72713-4842                   Philadelphia, PA 19101-7346                  Rogers, AR 72758-8120



Med Data Systems                             Miramed Revenue Group                        National Recoveries
Attn: Bankruptcy Dept                        Attn: Bankruptcy                             2020 S. Oneida Street Suite 20
2001 9th Ave Ste 312                         360 East 22nd Street                         Denver, CO 80224-2447
Vero Beach, FL 32960-6413                    Lombard, IL 60148-4924


National Recoveries Inc.                     Northwest Arkansas Pathology                 PRA Receivables Management, LLC
PO Box 120666                                390 E Longview Street                        PO Box 41021
Saint Paul, MN 55112-0022                    Fayetteville, AR 72703-4618                  Norfolk, VA 23541-1021



PayPal                                       Pennymac Loan Services                       Professional Credit Management, Inc.
2211 N First St                              Correspondence Unit/Bankruptcy               Po Box 4037
San Jose, CA 95131-2021                      Po Box 514387                                500 West Washington Ave
                                             Los Angeles, CA 90051-4387                   Jonesboro, AR 72401-2780


Glenn Scott Ritter                           Bianca Rucker                                Bianca Rucker
Wright, Lindsey & Jennings, LLP              Chapter 7 Panel Trustee                      RUCKER LAW PLLC
3333 Pinnacle Hills Pkwy, Suite 510          1 East Center Street                         One East Center St.
Rogers, AR 72758-8498                        Suite 215                                    Suite 215
                                             Fayetteville, AR 72701-5394                  Fayetteville, AR 72701-5394

Thomas D Stockland                           Stockland & Trantham                         U.S. Department of Education
Stockland & Trantham                         PO Box 1723                                  Ecmc/Bankruptcy
157 E. Colt Drive                            Fayetteville, AR 72702-1723                  Po Box 16408
Suite 1                                                                                   Saint Paul, MN 55116-0408
Fayetteville, AR 72703-2897
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U.S. Trustee (ust)5:19-bk-72555 Doc#: 46-1US Attorney
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                                                                                       US Attorney Page
                                                                                                   Western District
Office Of U. S. Trustee                   PO Box 1229                                  414 Parker Ave.
200 W Capitol, Ste. 1200                  Little Rock, AR 72203-1229                   Fort Smith, AR 72901-1902
Little Rock, AR 72201-3618


World’s Foremost Bank
Attn: Bankruptcy
4800 Nw 1st St
Lincoln, NE 68521-4463




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Absolute Pediatric Services, Inc.                End of Label Matrix
                                                    Mailable recipients    33
                                                    Bypassed recipients     1
                                                    Total                  34
